
A scire facias was issued from the Clerk’s office of Powhatan County Court, on the 26th day of February 1813, in favour of Bell’s administratrix against Cosby’s executors, to revive a Judgment, rendered July 17th 1783, against Cosby in his life time, for the sum of 1651. debt, and 182 lbs. tobacco and $2.50 cents costs; to be discharged by the payment of 821. 10. 0., with interest at the rate of five per centum per annum from the 21st of March 1783, until paid, and the costs aforesaid.
The defendants pleaded, “payment by the testator,” and “no such record,” on which the plaintiff joined issue. When the cause was called for trial, the defendants, by permission of the Court, waived the said pleas, and offered to confess judgment according to the scire facias; whereupon the plaintiff moved the Court to award her a *Writ of enquiry of damages, (2) and a trial by Jury in the cause; but the Court overruled the said motion, and refused to grant such writ and trial; to which opinion the plaintiff excepted.
Judgment was then entered, by confession, that the plaintiff should have execution, &amp;c. according to the scire facias. Upon an appeal, the Superior Court of law reversed it, and ordered the cause to be sent back, with instructions to the County Court to allow the appellant a writ of enquiry of damages, and a trial by Jury.
From’this Judgment of reversal, the defendants appealed to the Court of appeals, (where, the cause being submitted without argument,) it was determined that the Judgment of the Superior Court be reversed, and that of the County Court affirmed.

 Note. More than twenty years having elapsed since the judgment; and therefore the principal and interest amounting to more than the penal sum; the plaintiff wished to get the additional sum by way of damages. — Note in Original Edition.

